          Case 22-19361-MBK             Doc 1892   Filed 11/20/23 Entered 11/20/23 10:35:55                             Desc Main
                                                 Document       Page 1 of 1
                                           UNITED STATES BANKRUPTCY COURT
                                                   District of New Jersey

 In re:                                                           Chapter:                            ________________
                                                                                                             11
   BlockFi Inc.                                                   Case Number:                        ________________
                                                                                                          22-19361
                                                                  Civil Number:                       ________________
                                                                                                       23-CV-21306-ZNQ
                                                                  Adversary Number:                   ________________
                                                                  Bankruptcy Judge:                   ________________
                                                                                                       Michael B. Kaplan

                                         TRANSMITTAL OF DOCUMENT(S) TO:
                                  DISTRICT COURT  CIRCUIT COURT OF APPEALS

The following items have been filed with our office, and are being transmitted:
 Notice of Appeal                   Order being Appealed                 Designation of Record on Appeal
 Statement of Issues                Transcript                           Transcript Ordered On: _________________________
 Motion for Leave to Appeal  Certification of Failure to File Designation                   Motion to Withdraw the Reference
 Other ____________________________________________________________________________________________

If a Notice of Appeal is being transmitted:
The Notice of Appeal was filed in our office on ________________________________.
                                                September 6, 2023                 The parties to the appeal are:

Appellant(s):     ________________________________
                  Cameron Wyatt                                           Appellee(s):       BlockFi Inc.
                                                                                             ________________________________
Attorney:         Michael S. Etkin, Esq.
                  ________________________________                        Attorney:          Michael D. Sirota, Esq.
                                                                                             ________________________________
Address:          ________________________________
                  One Lowenstein Drive                                    Address:           25 Main St.
                                                                                             ________________________________
                ________________________________
                Roseland, New Jersey 07068                                        Hackensack, NJ 07601
                                                                                 ________________________________
                         #1655 and #1660 Revised Findings of Fact, Conclusions of Law and Order (I) Approving The
Title of Order Appealed: Disclosure Statement Relating to the Third Amended Joint Chapter 11 Plan of Blockfi Inc, and Its
                                ________________________________________________________________________
                         debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code on a Final Basis and (II) Confirming
Date Entered On Docket:         ________________________________________________________________________
                                 October 3, 2023

 An appeal has not previously been filed in this case.
 The following list contains information regarding all appeals previously filed in this case:

           District Court Case Number                  District Court Judge Assigned                    Date of Transmission of
                                                                                                        Record to District Court

                23-CV-18740-ZNQ                           Judge Zahid N. Quraishi                           September 8, 2023




 Court Clerk: Please complete the information below and return a copy of this form to ___________________________________within 3 days.

 Your Court’s Case Number:                                                  Judge assigned:
 By:                                                                        Date:



                                                                                                                                     rev. 8/28/17
